             Case 3:20-cr-01105-JLS Document 19 Filed 04/17/20 PageID.25 Page 1 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT Co                                               APR 1 7 2020
                                           SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                          CLER,K, U.S. DISTRICT COURT
              UNITED STATES OF AMERICA                              JUDGMENT IN AC                 l\'lfAA'15~Pt~CTOFCALIFORNIA

                                   V.                               (For Offenses Committed On              ·                     DEPUlY

       JESUS EDUARDO MENDOZA-TORRES (1)
                                                                       Case Number:        3 :20-CR-0 1105· -JLS

                                                                    Anton Vialtsin
                                                                    Defendant's Attorney
USM Number        95005298
• -
THE DEFENDANT:
IZI pleaded guilty to count(s)           One of the Information

D     was found guilty on count(s)
      after a plea ofnot guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

Title and Section/ Nature of Offense                                                                                      Count
18:1544 - Misuse Of Passport(Felony)                                                                                        1




    The defendant is sentenced as provided in pages 2 through
                                                                  - - -2- - - of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

D     Count(s)                                                IS          dismissed on the motion of the United States.

[ZI   Assessment: $100.00-Waived


•     JVT A Assessment*: $

      *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
IZI   No fine                  D Forfeiture pursuant to order filed                                             , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    Anri) 17 2020
                                                                    Date of Imposition of Sentence



                                                                    HON. JANIS L SAMMARTINO
                                                                    UNITED STATES DISTRICT JUDGE
           Case 3:20-cr-01105-JLS Document 19 Filed 04/17/20 PageID.26 Page 2 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                JESUS EDUARDO MENDOZA-TORRES (1)                                         Judgment - Page 2 of 2
CASE NUMBER:              3 :20-CR-0 1105

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 Time Served




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant must surrender to the United States Marshal for this district:
       •     at
                  --------- A.M.                              on
       •     as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at - - - -- - - -- - - - , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                   3:20-CR-01105-JLS
